     Reset Form
             Case 2:25-cr-00061-HDV                  UNITED STATES
                                                     Document  13 DISTRICT  COURT Page 1 of 2 Page ID #:47
                                                                   Filed 01/28/25
                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE SUMMARY
                                                                                                                     1/28/2025
        Case Number               2:25-CR-00061-HDV                                   Defendant Number 1
                                                                                                                           MMC
        U.S.A. v. DAVID WILLIAM PLATEK                                                Year of Birth 1983
         ✔   Indictment                       Information                Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                  PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                       A complaint/CVB citation was previously filed on: N/A
                                                                               Case Number:
     Class A Misdemeanor          Minor Offense        Petty Offense
                                                                               Assigned Judge:
     Class B Misdemeanor          Class C Misdemeanor       ✔   Felony
                                                                               Charging:
b. Date of Offense On or about December 11, 2024
                                                                               The complaint/CVB citation:
c. County in which first offense occurred
                                                                                      is still pending
San Luis Obispo                                                                           was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                     PREVIOUS COUNSEL
                                                                               Was defendant previously represented?       ✔     No       Yes
          Los Angeles                 Ventura
                                                                               IF YES, provide Name:
             Orange                         Santa Barbara
                                                                                       Phone Number:
             Riverside                  ✔   San Luis Obispo
                                                                               COMPLEX CASE
             San Bernardino                 Other                              Are there 8 or more defendants in the Indictment/Information?
                                                                                        Yes*        ✔ No
Citation of Offense 18 USC 875(c)
                                                                               Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
                                                                                       Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                        *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                               OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                               CHECKED.
     Eastern (Riverside and San Bernardino)         Southern (Orange)
                                                                               SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                   IS THIS A NEW DEFENDANT?              Yes   ✔     No

Has an indictment or information involving this defendant and                  This is the         superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                 The superseding case was previously filed on:
filed and dismissed before trial?
                                                                               N/A
        ✔ No          Yes
                                                                               Case Number
        If "Yes," Case Number:
                                                                               The superseded case:
Pursuant to this Court's General Order in the Matter of
Assignment of Cases and Duties to District Judges, criminal                       is still pending before Judge/Magistrate Judge
cases may be related if a previously filed indictment or
information and the present case:
   a. arise out of the same conspiracy, common scheme,                                was previously dismissed on
      transaction, series of transactions or events; or
                                                                               Are there 8 or more defendants in the superseding case?
    b. involve one or more defendants in common, and would                              Yes*           No
       entail substantial duplication of labor in pretrial, trial or           Will more than 12 days be required to present government's
       sentencing proceedings if heard by different judges.                    evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED                                   Yes*            No
CASE): N/A                                                                     Was a Notice of Complex Case filed on the Indictment or
                                                                               Information?
                                                                                        Yes            No
                                                                               *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                               MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                               FILED IF EITHER "YES" BOX IS CHECKED.
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                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE SUMMARY

INTERPRETER                                                                  CUSTODY STATUS
Is an interpreter required?            YES      ✔   NO                         Defendant is not in custody:
IF YES, list language and/or dialect:                                          a. Date and time of arrest on complaint:
                                                                               b. Posted bond at complaint level on:
                                                                                    in the amount of $
OTHER                                                                                                                 No
                                                                               c. PSA supervision?          Yes
 ✔   Male                  Female                                              d. Is on bail or release from another district:
 ✔   U.S. Citizen          Alien
Alias Name(s)                                                                  Defendant is in custody:
                                                                               a. Place of incarceration:         State    ✔   Federal
This defendant is charged in:                                                  b. Name of Institution: MDC
     ✔ All counts                                                              c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:                                                             Unknown
                                                                               d. ✔ Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per                             1/2/2025
     18 USC § 3146(a)(2) by the U.S. Attorney.                                 e. On another conviction:             Yes                 ✔   No
     This defendant is designated as "Special Case" per
                                                                                     IF YES :     State              Federal                 Writ of Issue
     18 USC § 3166(b)(7).
                                             Yes     ✔   No                    f. Awaiting trial on other charges:         Yes       ✔       No
Is defendant a juvenile?
IF YES, should matter be sealed?             Yes         No                          IF YES :     State       Federal          AND
                                                                                    Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                    Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                    This person/proceeding is transferred from another district
                                                                               pursuant to F.R.Cr.P.         20             21             40
     government fraud                         tax offenses
     environmental issues                     mail/wire fraud
     narcotics offenses                       immigration offenses
     violent crimes/firearms                  corporate fraud
✔    Other      threats




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date          01/26/2025
                                                                             SSignature
                                                                              Sig
                                                                              Si
                                                                               ignature of Assis
                                                                                           Assistant U.S. Attorney
                                                                             Sophia Carrillo
                                                                              Print Name
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